Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page61ofof46
                                                               41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page72ofof46
                                                               41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page83ofof46
                                                               41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page94ofof46
                                                               41
Case
Case 1:20-cv-01208-BPG Document 510 Filed
     1:20-cv-01208-JKB Document      Filed05/13/20
                                           05/13/20 Page
                                                     Page105 of
                                                             of 46
                                                                41
Case
Case 1:20-cv-01208-BPG Document 510 Filed
     1:20-cv-01208-JKB Document      Filed05/13/20
                                           05/13/20 Page
                                                     Page116 of
                                                             of 46
                                                                41
Case
Case 1:20-cv-01208-BPG Document 510 Filed
     1:20-cv-01208-JKB Document      Filed05/13/20
                                           05/13/20 Page
                                                     Page127 of
                                                             of 46
                                                                41
Case
Case 1:20-cv-01208-BPG Document 510 Filed
     1:20-cv-01208-JKB Document      Filed05/13/20
                                           05/13/20 Page
                                                     Page138 of
                                                             of 46
                                                                41
Case
Case 1:20-cv-01208-BPG Document 510 Filed
     1:20-cv-01208-JKB Document      Filed05/13/20
                                           05/13/20 Page
                                                     Page149 of
                                                             of 46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page15
                                                         10ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page16
                                                         11ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page17
                                                         12ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page18
                                                         13ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page19
                                                         14ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page20
                                                         15ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page21
                                                         16ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page22
                                                         17ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page23
                                                         18ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page24
                                                         19ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page25
                                                         20ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page26
                                                         21ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page27
                                                         22ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page28
                                                         23ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page29
                                                         24ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page30
                                                         25ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page31
                                                         26ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page32
                                                         27ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page33
                                                         28ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page34
                                                         29ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page35
                                                         30ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page36
                                                         31ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page37
                                                         32ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page38
                                                         33ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page39
                                                         34ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page40
                                                         35ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page41
                                                         36ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page42
                                                         37ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page43
                                                         38ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page44
                                                         39ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page45
                                                         40ofof46
                                                                41
Case
 Case1:20-cv-01208-BPG
      1:20-cv-01208-JKB Document
                        Document 10 Filed05/13/20
                                 5 Filed  05/13/20 Page
                                                    Page46
                                                         41ofof46
                                                                41
